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                                                                                       MITCHELL J. BANAS, JR.
                                                                                                       Member
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June 30, 2023


Via ECF

Hon. Andrew T. Baxter
U.S. Magistrate Judge
U.S. District Court for the
Northern District of New York
Federal Building and U.S. Courthouse
P.O. Box 7396
Syracuse, NY 13261-7396

Re:    Estate of JLA v. Town of DeWitt, Corey Fike, et al.
       Case No. 5:22-cv-00287-MAD-ATB

Dear Magistrate Judge Baxter:

This office represents defendant New York State Trooper Corey Fike. At status
conferences held on August 18, 2022 and April 17, 2023, the Court directed the parties
to work towards the form of a confidentiality order to be submitted for the Court’s
consideration. Despite good faith efforts, the parties have been unable to agree on
such. Accordingly, pursuant to this Court’s Local Rule 7.1(a)(2), a pre-motion
conference is hereby requested.

Thank you for your consideration.

Respectfully,

BOND, SCHOENECK & KING, PLLC


/s/ Mitchell J. Banas, Jr.
Mitchell J. Banas, Jr.

MJB/kls

cc:    All Counsel (via ECF)
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